                  Case 5:23-cv-00832-GTS-ATB Document 5 Filed 07/13/23 Page 1 of 1
O AO 121 (6/90)
TO:

                  Register of Copyrights                                                           REPORT ON THE
                  Copyright Office                                                         FILING OR DETERMINATION OF AN
                  Library of Congress                                                             ACTION OR APPEAL
                  Washington, D.C. 20559                                                       REGARDING A COPYRIGHT



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on the following copyright(s):
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        G
        ✔ ACTION           G APPEAL                                   U.S. District Court, Norther District of New York
DOCKET NO.                      DATE FILED                            100 S. Clinton St, PO Box 7367
                                   07/12/2023                         Syracuse, NY 13261
5:23-CV-0832
PLAINTIFF                              Format m/d/yyyy                            DEFENDANT
ZUFFA, LLC d/b/a Ultimate Fighting                                                Defendants, Stephen Theobald, and Chucks Future LLC
Championship,



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1 PA 2-403-032                   UFC 283: Glover Teixeira vs Jamahal Hill                                       Zuffa, LLC

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                         G Amendment                 G Answer               G Cross Bill              G Other Pleading
       COPYRIGHT
                                                            TITLE OF WORK                                                 AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                        DATE RENDERED

            G Order        G Judgment                                     G Yes        G No

CLERK                                                        (BY) DEPUTY CLERK                                               DATE

                                                                          s/Matt Gerace                                             07/13/23

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